
49 So.3d 862 (2010)
Gloria BARKER, Appellant,
v.
DEPARTMENT OF HEALTH, BOARD OF NURSING, Appellee.
No. 5D10-762.
District Court of Appeal of Florida, Fifth District.
December 17, 2010.
*863 Gloria Barker, Orlando, pro se.
Brittany Adams Long, Assistant General Counsel, Department of Health, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Mendez v. Fla. Dep't of Health, 943 So.2d 909, 910 (Fla. 1st DCA 2006) ("This court cannot substitute its judgment for that of an administrative agency, charged with implementing and enforcing its own statute, when that agency has imposed a penalty within the permissible range of penalties.").
GRIFFIN, ORFINGER, and LAWSON, JJ., concur.
